OFT (10/31/15)                    UNITED STATES BANKRUPTCY COURT                     U.S. BANKRUPTCY COURT
                                           District of Oregon                         DISTRICT OF OREGON
                                                                                              FILED
In re                                             )
 Elbert G Garboden                                ) Case No. 15−35133−rld7                February 8, 2016
 Sherry L Garboden                                )                                  Clerk, U.S. Bankruptcy Court
Debtor(s)                                         )
                                                  ) ORDER AND NOTICE                          BY DEPUTY
                                                  ) OF TIME TO FILE CLAIMS
                                                  )
                                                  )


The trustee anticipates receiving funds which may be sufficient to pay a dividend to creditors, therefore,

IT IS ORDERED AND NOTICE IS GIVEN that:

1. The deadline to file a Proof of Claim is 5/10/16 for all creditors, except for governmental units for which
   a later deadline may apply; see Fed. Rule Bankr. Proc. 3002(c)(1). Your claim must be received by the
   bankruptcy clerk's office by this deadline.

2. Any surplus of funds remaining after payment of filed claims will be returned to the debtor(s).

                                                                                 Clerk, U.S. Bankruptcy Court

TO FILE A CLAIM:

(a) File a proof of claim at www.orb.uscourts.gov. Select Proof of Claim (ePOC) and follow the steps to
    create and electronically file a proof of claim on the required form. No login/password is required.

(b) If you have already filed a claim in this case, do not file it again.

(c) If you do not have internet access, please call the court at 503−326−1500 or 541−431−4000 to
    request a claim form.




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